
503 So. 2d 887 (1987)
Ex parte Michael Eugene THOMPSON.
(Re Michael Eugene Thompson v. State).
85-1004.
Supreme Court of Alabama.
February 20, 1987.
B.J. McPherson and John J. Dobson, Oneonta, for petitioner.
Charles A. Graddick, Atty. Gen., and William D. Little and Mary Ellen Forehand, Asst. Attys. Gen., for respondent.
Prior report: 503 So. 2d 871 (Ala.Cr.App. 1986).
BEATTY, Justice.
Having considered the record, briefs, and oral argument in this case, this Court holds that the judgment of the Court of Criminal Appeals must be, and it is hereby, affirmed.
AFFIRMED.
All the Justices concur.
